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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 In re: BOY SCOUTS OF AMERICA               Chapter 11
 AND DELAWARE BSA, LLC,
                                            Bankruptcy Case No. 20-10343 (LLS)
                 Debtors.                   (Jointly Administered)

 NATIONAL UNION FIRE
 INSURANCE CO. OF PITTSBURGH, Case No. 22-cv-01237-RGA
 PA, et al.,

               Appellants,
                    v.

 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,
          Appellees.


NOTICE OF ERRATA RE: EMERGENCY MOTION OF LUJAN CLAIMANTS
      FOR STAY PENDING APPEAL AND A TEMPORARY STAY
       WHILE THE COURT RULES ON THE MOTION; JOINDER

      Lujan Claimants hereby provide notice of the following errors contained in the

Emergency Motion of Lujan Claimants for Stay Pending Appeal and a Temporary Stay

While the Court Rules on the Motion; Joinder [D.I. 156]:

      1.     On page 3, lines 1-2, it mistakenly states “Certain Insurers,” but should state

“Lujan Claimants.” With the correction, the corrected sentence reads: “Even if this Court

is satisfied that it has correctly determined the issues, a reasonable possibility exists that

the Third Circuit—which has repeatedly cautioned against the danger posed by mass tort
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bankruptcies—may disagree on one or more issues the Lujan Claimants or other appellants

will raise on appeal.”

      2.     On page 6, paragraph 6, line 5, it mistakenly states “Brian Bates,” but should

state “Charles Bates.” With the correction, the corrected sentence reads: “Further, the

valuation by Dr. Charles Bates of the aggregate value of Survivors’ claims included a 90%

value reduction of single-victim claims even though the starting point for valuing claims

under the TDP is single-victim perpetrator and that multiple victims is an aggravating

factor that increases claim values.”


      Dated: Wilmington, Delaware            Respectfully Submitted,


      April 5, 2023                          /s/ Christopher D. Loizides
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